                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

In the Matter of:                                      )
                                                       )       Case No. 19-81991
In The Wind, LLC                                       )
 EIN: xx-xxX-5230                                      )       Chapter 11
                                                       )
Debtor                                                 )

              MOTION FOR AUTHORITY TO SELL ASSET FREE AND CLEAR OF LIENS
              AND NOTICE OF SALE AND DEADLINE FOR SUBMITTING OBJECTIONS

       COMES NOW In The Wind, LLC, as Chapter 11 Debtor-in-Possession (“Debtor”), and gives
notice pursuant to Bankruptcy Rules 2002 and 6004 of its intent to sell the property described below
free and clear of liens under 11 U.S.C. § 363(f) and, pursuant to Bankruptcy Rule 6004(c), moves this
Honorable Court for an order authorizing him to sell said property. As grounds for said motion, the
Trustee states as follows:
1.     On July 1, 2019 (the "Filing Date"), the Debtor commenced with this Court a voluntary case
under Chapter 11 of Title 11, United States Code (the "Bankruptcy Code").
2.     The Debtor continues to be authorized to operate the business as Debtor-in-Possession
pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.
3.     The Debtor is a trucking company and owns multiple semi-trucks and semi-trailers.
4.     Four of Debtor’s semi-trailers, along with five of Debtor’s semi-trucks, are pledged as collateral
to First Community Bank.
5.     As of filing its proof of claim on September 6, 2019, the Bank asserted that the balance owed on
the loan upon which the semi-trucks and semi-trailers are pledged as collateral has a remaining
principal balance of approximately $448,825.01, plus accruing interest, attorney's fees, and costs.
6.     Debtor, with the assistance of First Community Bank, has recently found a potential buyer for
the four semi-trailers.
7.     The potential buyer for the semi-trailers is Matt Pride with I-565 Trailer Sales which is located
at 25614 AL Hwy 20 Mooresville, AL 35649. He has offered $25,000.00 per semi-trailer for a total of
$100,000.00 to purchase the four (4) semi-trailers. The semi-trailers to be sold (hereinafter
“Property”) are more specifically described as follows:
       Type                  Year model          VIN
       Semi-Trailor          2014                1UYVS253XEM686404
       Semi-Trailor          2014                1UYVS2537EM686411
       Semi-Trailor          2014                1UYVS2537EM686408
       Semi-Trailor     2014           1UYVS2538EM686403
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8.     In the opinion of the Debtor, it is in the best interest of the Estate to sell the Property pursuant
to Title 11 U.S.C. § 363(f) free and clear of the lien of the Bank, with said lien to transfer and attach to
the proceeds from the sale of the Property.
9.     Sale of the Property is with the consent of the Bank pursuant to Title 11 U.S.C. § 363(f)(2).
10.    Said sale is to be conducted as a private sale to Matt Pride and/or I-565 Trailer Sales (the
“Purchaser”) on the terms and conditions stated above. Debtor represents that this is an arms-length
transaction, and Debtor has no family or business connections with Purchaser and did not know him
before he made this offer.
11.    All net sale proceeds will be paid directly to the Bank at closing or execution of the sale by
either check or wire transfer.
12.    The Bank will execute and provide a release of its lien by execution of necessary documents
and/or release of titles, but only with respect to the Property and not as to any other Collateral.
13.    The sale of the Property is to be conducted at after entry of a final Order approving this sale,
and is to be held at a date and location mutually agreed upon by the parties.
       WHEREFORE, the Trustee respectfully requests that the Court enter an order
A. Authorizing a sale of the Property free and clear of liens under 11 U.S.C. § 363(f), in accordance
with the terms and conditions stated herein; and
B. For such other and further relief as the Court deems just and appropriate.
       Respectfully submitted this 21st day of October, 2019.


                                                      /s/Richard L. Collins
                                                      Richard L. Collins (ASB-8742-C66R)
                                                      Attorney for Debtor
                                                      P. O. Box 669
                                                      Cullman, AL 35056
                                                      (256) 739-1962



                                     CERTIFICATE OF SERVICE

       This is to certify that on the 21st day of October, 2019 a copy of this pleading was served by
placing a copy of the same in the U. S. Mail with postage prepaid and correctly addressed to the
following:

Richard Blythe
Bankruptcy Administrator
P. O. Box 3045
Decatur, AL 35602

20 Largest Unsecured Creditors

All parties requesting notice
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                                   /s/ Richard L. Collins
                                   Richard L. Collins




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Label Matrix for local noticing             EvaBank                                   In The Wind, LLC
1126-8                                      1710 Cherokee Ave Sw                      P O Box 103
Case 19-81991-CRJ11                         Cullman, AL 35055-5333                    Vinemont, AL 35179-0103
NORTHERN DISTRICT OF ALABAMA
Decatur
Mon Oct 21 14:46:09 CDT 2019
U. S. Bankruptcy Court                      **Eva Bank                                **First Community Bank
400 Well Street                             1710 Cherokee Avenue SW                   P O Box 249
P. O. Box 2775                              Cullman, AL 35055-5333                    Cullman, AL 35056-0249
Decatur, AL 35602-2775


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Richard M Blythe                            End of Label Matrix
United States Bankruptcy Administrator      Mailable recipients      24
PO Box 3045                                 Bypassed recipients       0
Decatur, AL 35602-3045                      Total                    24




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